














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-09-234-CV



JASON ROBERT DANIELS
	
APPELLANT



V.



RACHAEL DIANE DANIELS
 	APPELLEE

 
	

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FROM THE 89TH DISTRICT COURT OF WICHITA COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL: &nbsp;MEIER, J.; CAYCE, C.J.; and LIVINGSTON, J.



DELIVERED: &nbsp;September 24, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




